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                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA

                           Case No.: 1:25-cv-20757-JB/Torres
 JANE DOE,

         Plaintiff,
 v.

 STEVEN K. BONNELL II,

         Defendant.
                             /


      DEFENDANT STEVEN K. BONNELL’S OPPOSITION TO PLAINTIFF’S MOTION
              FOR PROTECTIVE ORDER GOVERNING DISCOVERY

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    I.      INTRODUCTION & FACTUAL BACKGROUND

         Plaintiff’s Motion for Protective Order is the first in a series of motions she has filed

 recently to limit access to public court filings and public hearing transcripts, and to prevent

 Defendant Steven Bonnell from even discussing the federal lawsuit that Plaintiff filed against him.

 Meanwhile, Plaintiff continues to solicit public donations for her purported legal fund and

 continues to litigate her case in the court of public opinion, including on social media. While

 Bonnell does not object to the entry of a reasonable and narrowly tailored protective order, he

 objects to any order that permits Plaintiff to unilaterally designate a witness’s identity as

 confidential, relief that the witnesses themselves do not even seek. Witnesses’ identities are not

 inherently confidential, and Plaintiff has failed to demonstrate that the names and/or identities of

 witnesses or potential witnesses in this case should be given special treatment. Plaintiff’s proposed

 blanket protective order goes too far, violates well-established authority governing the treatment

 of publicly filed court documents and proceedings, and severely prejudices Bonnell’s access to

 exculpatory evidence.

         Also of concern is Plaintiff’s failure to adequately meet and confer prior to filing this

 Motion. On May 14, 2025, Plaintiff’s counsel provided the undersigned with a draft stipulated

 confidentiality agreement and protective order. (Declaration of Andrew B. Brettler, dated June 5,

 2025 ¶ 3 & Ex. A.) After receiving Plaintiff’s draft order, the undersigned provided comments in

 redline format reflecting Defendant’s proposed revisions to the draft order. (Id. ¶ 4 & Ex. B.) As

 reflected in Exhibit B to the Brettler Declaration, Bonnell’s proposed revisions to the draft order

 were intended to omit the loophole that Plaintiff created by unilaterally allowing her to shield the

 identities of non-party witnesses and/or potential witnesses. (Id.) While Plaintiff’s counsel

 acknowledged that “witness identities [sic] are not inherently confidential,” (Id. ¶ 5 & Ex. C),




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 Plaintiff nonetheless insisted upon including language in the draft protective order that would

 permit her to unilaterally mask the identities of her witnesses and/or potential witnesses. (Id. ¶ 5.).

 Thereafter, Plaintiff filed her Motion. [ECF No. 82.] However, the draft protective order that

 Plaintiff filed with her Motion bears little resemblance to the proposed order Plaintiff shared with

 Bonnell during the meet and confer process. (Compare Brettler Decl. Ex. A with Mot. Ex. A [ECF

 No. 82-1]). Such gamesmanship should not be tolerated or rewarded.

    II.        ARGUMENT

          A.     There Is No Legal Basis To Shield Witnesses’ Identities from Disclosure.

          Plaintiff’s Motion seeking a blanket protective order that permits her to conceal the

 identities of non-party witnesses and/or potential witnesses, at her sole election, lacks any legal

 foundation and contradicts well-established Eleventh Circuit precedent. Witnesses’ identities are

 not inherently confidential, nor is there a recognized exception under Federal Rule of Civil

 Procedure 26(c) that entitles a non-party witness to anonymity. As the Eleventh Circuit held in

 Doe v. Frank, “[l]awsuits are public events.” 951 F.2d 320, 324 (11th Cir. 1992). The presumption

 of openness extends to the identities of witnesses, especially where those witnesses are providing

 substantive declarations or testimony to support a party’s claims. See Doe, 951 F.2d at 323

 (holding that the proponent of the protective order must establish “a substantial privacy right [that]

 outweighs the customary and constitutionally-embedded presumption of openness in judicial

 proceedings.”) (internal citations and quotation marks omitted).

          While certain materials obtained through discovery may be subject to confidentiality

 protections, Chi. Tribune Co. v. Bridgestone/Firestone, Inc., 263 F.3d 1304, 1311 (11th Cir. 2001),

 that principle does not extend to the mere identities of witnesses. Disclosure of a witness’s name,

 standing alone, is not inherently private simply because it arises during discovery. See Hubbard v.




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 Bankatl. Bancorp, Inc., No. 07-61542-CIV, 2009 WL 3856458, at *3 (S.D. Fla. Nov. 17, 2009)

 (granting motion to compel answers to interrogatories identifying confidential witnesses alleged

 in complaint; “The identities of witnesses are discoverable.”) In Hubbard, the court compelled

 plaintiffs to disclose the names of confidential witnesses identified in their complaint, rejecting

 arguments based on work product, privacy, and public interest. Id. The court emphasized that

 where plaintiffs rely heavily on confidential witnesses to support their allegations, “it would be

 unfair to permit [them] to rely so heavily in their Complaint on the confidential witnesses, yet

 allow [them] to keep their identities from Defendants during discovery.” Id. at 4. The court further

 held that “[t]here is no public interest privilege that precludes lawful discovery of confidential

 witnesses in this case.” Id. (citing Higgenbotham v. Baxter Int’l, Inc., 495 F.3d 753, 756-57 (7th

 Cir. 2007), for the proposition that there is no “informer’s privilege” in civil litigation.) Id.

         B.      Plaintiff Has Not Met her Burden Under Rule 26(c).

         Critically, Plaintiff has not met her burden of establishing “good cause” under Federal Rule

 of Civil Procedure 26(c) to justify restricting public access to the identities of her non-party

 witnesses. The Eleventh Circuit has made clear that “good cause” under Rule 26(c) requires a

 “particular and specific demonstration of fact, as distinguished from stereotyped and conclusory

 statements.” See In re Chiquita Brands Int’l, Inc., 965 F.3d 1238, 1251–52 (11th Cir. 2020)

 (affirming denial of protective order seeking anonymity where plaintiffs failed to show a concrete

 harm that outweighed the presumption of openness in judicial proceedings); see also Or. Socialist

 Workers 1974 Campaign Comm. v. Paulus, 432 F. Supp. 1255, 1259 (D. Or. 1977) (finding that

 anonymous affidavits were improper despite affiants’ alleged fear of harassment and holding that

 “our system of justice does not contemplate the judicial resolution of disputes based on secret

 testimony”); KeyView Labs, Inc. v. Barger, No. 20-cv-2131, 2020 WL 8224618, at *6 (M.D. Fla.

 Dec. 22, 2020), R&R adopted, 2021 WL 510295 (Feb. 11, 2021) (citing Or. Socialist Workers,

 432 F. Supp. at 1259). Plaintiff has not submitted any evidence in the form of a declaration or


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 otherwise from any witness or potential witnesses asserting a particularized fear of harm. 1 Nor

 has Plaintiff made any showing that any witness would face the type of stigma or physical danger

 required to justify a departure from the presumptive openness of judicial proceedings. Plaintiff’s

 Motion is based entirely on speculation, and as such, fails under the Eleventh Circuit’s

 “exceptional case” standard. Doe, 951 F.2d at 324.

        C.      Non-Party Witnesses Have Not Sought Anonymity.

        To date, no third party or non-party witness in this case has sought any form of protection

 from the Court. Plaintiff’s attempt to extend her own “Doe” status to non-parties is procedurally

 improper and substantively unsupported. See Doe, 951 F.2d at 322 (noting that the public has a

 “legitimate interest in knowing all the facts involved” in a lawsuit). The limited cases in which

 courts have permitted anonymity involved parties who established a legally cognizable interest,

 typically a cause of action or defense, sufficient to implicate their personal privacy rights. Here,

 by contrast, the non-party witnesses have not demonstrated any such interest—either directly or

 indirectly. That Plaintiff has initiated public litigation and is relying on anonymous third-party

 declarations to support her claims does not entitle those individuals to bypass the ordinary

 requirements of disclosure, particularly where their statements are being used as a sword in the

 litigation. See Sony Computer Entm’t Am. Inc. v. NASA Elecs. Corp., 249 F.R.D. 378, 383-84
 (S.D. Fla. 2008) (rejecting proposed confidentiality provision that would have restricted use of

 information and imposed a burden-shifting requirement; holding that parties could not use a

 protective order as both a sword and a shield by asserting third-party-based defenses while seeking


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   One of Plaintiff’s witnesses, an online streamer known as “jstlk,” is repeatedly cited in Plaintiff’s
 filings as allegedly fearful of harassment and doxing. (See Mot. for Protective Order [ECF No. 84]
 at 2; Pl.’s Decl. Ex. B [ECF No. 84-3]. In support of her Motion, Plaintiff submitted a screenshot
 from jstlk that redacted his screen name but left his distinctive avatar plainly visible. Despite the
 claim of fear, jstlk later livestreamed a segment in which he mocked Plaintiff’s failure to properly
 redact the exhibit and openly identified himself as the supposedly “anonymous” witness. See
 https://kick.com/username/videos/20f08039-47a4-4927-83e2-db5e40b1fa13?t=4635.                     This
 conduct directly undermines any claim that jstlk genuinely fears identification. To the contrary,
 his public embrace of the role, ridicule of Plaintiff’s Motion, and display of the exhibit to his
 audience underscore that Plaintiff cannot meet her burden to show “good cause” under Rule 26(c).


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 to block access to and use of that same information to test those defenses); see also KeyView Labs,

 2020 WL 8224618, at *6 (rejecting anonymous declaration and emphasizing that “Defendants

 therefore cannot even attempt to contradict or explain the assertions made in Jane Doe’s

 declaration,” and citing Goldberg v. Kelly, 397 U.S. 254, 269 (1970), for the principle that “[i]n

 almost every setting where important decisions turn on questions of fact, due process requires an

 opportunity to confront and cross-examine adverse witnesses”).

        D.      Permitting Anonymous Witness Testimony Is Unfair and Prejudicial.

        Granting Plaintiff the unilateral ability to shield the identities of her witnesses and/or

 potential witnesses, while publicly litigating this case (Compl., dated Feb. 18, 2025 [ECF No. 1]),

 posting about it online (Bonnell Decl., dated Apr. 25, 2025 [ECF No. 42-1] ¶ 23), and publicly

 fundraising to support her lawsuit (Id. ¶ 26 & Ex. H), among other things, is demonstrably unfair

 and creates a serious imbalance of the equities. The prejudice to Bonnell is particularly evident

 where, as here, Plaintiff’s counsel has made a habit of filing sealed and/or redacted declarations

 without providing the undersigned with the unsealed or unredacted versions of those filings. (See,

 e.g., Pl.’s Mot. to File Decls. Under Seal, dated May 2, 2025 [ECF No. 48]; Redacted Decl. of

 Abbymc, dated Apr. 30, 2025 [ECF No. 49-2]; Anonymous Decl., dated May 2, 2025 [ECF No.

 49-4]; Anonymous Decl., dated May 1, 2025 [ECF No. 49-5].) 2



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   Under Plaintiff’s flawed interpretation of Local Rule 5.4(b)(1), she is permitted to file redacted
 and/or entirely sealed declarations, without providing Bonnell with the unredacted or unsealed
 versions of those declarations until the Court grants Plaintiff’s sealing motions. Under Plaintiff’s
 theory, if the Court denies a motion to seal, Plaintiff need not ever provide the unredacted or
 unsealed documents to Bonnell. The purpose of permitting redacted and/or sealed filings is to
 prevent the public disclosure of purportedly confidential information. It is not to prevent the
 opposing party and/or their counsel from viewing the materials. See Perez-Guerrero v. U.S. Att’y
 Gen., 717 F.3d 1224, 1235-36 (11th Cir. 2013) (noting that sealing is intended to protect against
 illegitimate public uses of judicial records—such as scandal or competitive harm—not to restrict
 access by litigants or their counsel); Romero v. Drummond Co., 480 F.3d 1234, 1246 (11th Cir.
 2007) (explaining that sealing is permitted to shield sensitive information from public view—not
 to withhold it from the opposing party); see also Golubovych v. Saks 5th Ave., Inc., No. 22-CV-
 9923-MKV, 2025 WL 297452, at *1 (S.D.N.Y. Jan. 24, 2025) (ruling that when submitting an
 unredacted filing under seal, an unredacted copy must be provided to opposing counsel).


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           Defendant Bonnell has been publicly named in this lawsuit. (See Compl. [ECF No. 1] ¶¶ 7-

 8.) Plaintiff, meanwhile, solicits information and support from the public, including potential

 witness testimony, while simultaneously seeking to withhold the identities of her own witnesses

 from public scrutiny. (See Redacted Decl. of Abbymc, [ECF No. 49-2] ¶ 2; Anonymous Decl.

 [ECF No. 49-4] ¶ 7; Anonymous Decl. [ECF No. 49-5] ¶¶ 3-5; Motion for Protective Order

 Governing Public Commentary [ECF No. 84]; Motion for Leave to File Under Seal [ECF No. 85];

 Motion for Leave to File Redacted Evidence [ECF No. 86]; Motion to Seal Transcript [ECF No.

 88]). The public can therefore act as an investigative arm for Plaintiff but not for Bonnell, thereby

 restricting Bonnell’s access to evidence concerning the anonymous witnesses’ credibility and

 veracity. This asymmetry undermines core principles of fairness and due process. See Sony

 Computer, 249 F.R.D. at 383-84. Allowing Plaintiff to introduce anonymous witness declarations,

 shielded from any public vetting, while Bonnell remains fully exposed to public scrutiny, gives

 her an unfair litigation advantage. See Doe, 951 F.2d at 323-24 (rejecting anonymity in part

 because public accusations of serious misconduct should not proceed without identifying

 accusers).

    III.      CONCLUSION

           For the foregoing reasons, the protective order that Plaintiff seeks is overly broad. The

 Court should decline to enter the requested order, or, at a minimum, should not permit Plaintiff to

 unilaterally shield witnesses’ identities from public disclosure.




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  Dated: June 6, 2025                      Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 6, 2025, a true and correct copy of the foregoing was

 served on all parties via transmission of Notices of Electronic Filing generated by CM/ECF and

 via electronic transmission to counsel of record for these parties.

                                               By:     /s/ Robert L. Raskopf
                                                       Attorney




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